              Case 19-18897                    Doc 24            Filed 08/21/19 Entered 08/21/19 14:55:27                         Desc Main
                                                                   Document     Page 1 of 3
 Fill in this information to identify the case:
 Debtor 1 Malko K Odishoo

 Debtor 2   Marina I Odishoo
               (Spouse, if filing)

 United States Bankruptcy Court for the: Northern District of Illinois
                                                                         (State)


 Case number 19-18897



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                           12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert are recoverable
against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of Creditor: Nationstar Mortgage LLC d/b/a Mr. Cooper                                          Court Claim No. (if known):

Last four digits of any number
you use to identify the debtor's                   XXXXXX6552
account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?’

      No
      Yes. Date of last notice:

Part 1:         Itemize Postpetition Fees, Expenses and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in the case or ruled on by the bankruptcy court.
If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.

        Description                                                                Dates incurred                                          Amount


1.       Late charges                                                                                                         (1)                     $0.00


2.       Non-sufficient funds (NSF) fees                                                                                      (2)                     $0.00
3.       Attorney fees                                                                                                        (3)                     $0.00
4.       Filing fees and court costs                                                                                          (4)                     $0.00
5.       Bankruptcy/Proof of claim fees                                                                                       (5)                     $0.00
6.       Appraisal/broker's price opinion fees                                                                                (6)                     $0.00
7.       Property inspection fees                                                                                             (7)                     $0.00
8.       Tax advances (non-escrow)                                                                                            (8)                     $0.00
9.       Insurance advances (non-escrow)                                                                                      (9)                     $0.00
10.      Property Preservation expenses. Specify: __________                                                                  (10)                    $0.00
11.      Other. Specify:             Plan Review                                    7/12/2019                                 (11)                  $300.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. §1322(b)(5) and
Bankruptcy Rule 3002.1.




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Debtor 1 Malko K Odishoo                                                                    Case number (if known) _______________
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Part 2:      Sign Here

The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box

    I am the creditor.
    I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

             X    /s/ Mike Burke                                                             Date: August 21, 2019
                  Signature




Print:            Mike Burke                                                                 Title Attorney for Creditor
                  First Name                Middle Name             Last Name


Company           Shapiro Kreisman & Associates, LLC


Address           2121 Waukegan Road, Suite 301
                  Number           Street

                  Bannockburn, IL 60015
                  City                                      State     ZIP Code


Contact phone     (847) 291-1717                                                             Email




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                                                 UNITED STATES BANKRUPTCY COURT



Certificate of Service


I hereby certify that a copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges was served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court's ECF System at the e-mail address registered
with the court on

Date:   August 21, 2019

Chapter 13 Trustee: Glenn B. Stearns

Trustee Address: 801 Warrenville Road, Suite 650, Lisle, IL 60532

Trustee Email:


Debtor's Counsel Name: David M Siegel, David M. Siegel & Associates

Debtor's Counsel Address: 790 Chaddick Drive, Wheeling, IL 60090

Debtor's Counsel Email: davidsiegelbk@gmail.com


Debtor 1 Name: Malko K Odishoo

Debtor 2 Name: Marina I Odishoo

Debtor's Mailing Address: 1201 Citation Lane, Hanover Park, IL 60133 and 1201 Citation Lane, Hanover Park, IL 60133

Debtor Email:
                                                                         ___/s/ Mike Burke________________________________
                                                                            Mike Burke
